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                               /s/ReShaundra M. Suggs
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                               /s/ReShaundra M. Suggs
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